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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

 JOSEPH VELLALI et al.,
                                                          No. 3:16-cv-01345-AWT
 Plaintiffs,
                                                          Hon. Alvin W. Thompson
  v.

 YALE UNIVERSITY et al.,

 Defendants.

               PLAINTIFFS’ EMERGENCY MOTION TO STAY BRIEFING ON
                        DEFENDANTS’ MOTIONS TO EXCLUDE

        Pursuant to Local Rule 7(a)(6), Plaintiffs Joseph Vellali, Nancy S. Lowers, Jan M.

Taschner, and James Mancini (“Plaintiffs”), for the reasons stated in the accompanying

memorandum of law, move for, on an expedited basis, an order staying briefing on Defendants’

Motion to Exclude Plaintiffs’ Expert Daniel Alexander (Doc. 272), Defendants’ Motion to

Exclude Plaintiffs’ Experts Wendy Dominguez and Gerald Buetow (Doc. 275) and Defendants’

Motion to Exclude Plaintiffs’ Experts Al Otto and Ty Minnich (Doc. 278) (collectively,

“Motions to Exclude”). Plaintiffs seek to stay briefing on Defendants’ Motions to Exclude until

after the Court determines whether to strike Plaintiffs’ jury trial demand. Plaintiffs additionally

respectfully request that the Court, in the interests of efficiency and judicial economy, order

Defendants to file any motion to strike Plaintiffs’ jury demand within 21 days of its order.

        Plaintiffs have good cause to seek expedited consideration of this motion pursuant to

Local Rule 7(a)(6) because Plaintiffs’ oppositions to the Motions to Exclude are due on February

2, 2021. While full briefing of this motion would be possible prior to that date (assuming that if

Plaintiffs file a Reply in support of this motion, they do so early), Plaintiffs request an expedited

decision to allow adequate time to prepare their oppositions to the Motions to Exclude.
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December 24, 2020                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I certify that, on December 24, 2020, a copy of the foregoing was filed electronically
using the Court’s CM/ECF system, which will provide notice to all counsel of record.

                                             By: /s/ Andrew D. Schlichter




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